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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                            Plaintiff,

              v.                                                  11-CR-121-A

RONALD CARTER,

                     Defendant.
_____________________________________


                     REPORT, RECOMMENDATION AND ORDER

              This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions. Dkt. #11.



                              PRELIMINARY STATEMENT

              The defendant, Ronald Carter (“Carter”), is charged in a multi-count

Superseding Indictment (Dkt. #19) with conspiracy to possess with intent to distribute

and to distribute cocaine and marijuana, in violation of Title 21, United States Code,

Section 846 (Count 1), possession with intent to distribute cocaine, in violation of Title

21, United States Code, Section 841(a)(1) and 841(b)(1)(B) (Count 2), and maintaining

a premises for distributing cocaine, in violation of Title 21, United States Code, Section

856(a)(1) (Count 3). Presently pending is defendant Carter’s motion seeking the

suppression of physical evidence. This Court’s Decision and Order with respect to

defendant Carter’s omnibus discovery motion, request for a bill of particulars and

motion to suppress statements was previously filed. Dkt. #111.
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             Defendant Carter moves to suppress all physical evidence seized from his

residence located at 446 10th Street, Niagara Falls, New York. Dkt. #76, p.16. In

support of his motion, the attorney for the defendant states as follows,

             [t]he Police received permission to search the residence
             after threatening and intimidating Mr. Carter. Mr. Carter’s
             consent was involuntary. Mr. Carter and his girlfriend signed
             the consent to search forms after the residence was already
             searched. An affidavit from the Defendant will be
             supplemented to allege standing. He is currently in poor
             health and unable to make it to my office. The Defense
             asks that the Court accept this motion as enough for
             standing. The Government should not oppose this request
             as they charged Mr. Carter in Count 3 of the indictment with
             maintaining premises for the purpose of manufacturing and
             distributing cocaine.

Dkt. #76, p.16. The instant motion was filed on March 16, 2012 and oral argument was

adjourned five times, three were at the request of defendant’s counsel for purposes of

accommodating defense counsel’s trial calendar and/or for purposes of continuing to

engage in plea negotiations. At the last two scheduled court appearances, counsel for

defendant failed to appear. Notwithstanding the representations in defendant’s motion

concerning the defendant’s intent to supplement the motion with an affidavit, no

affidavit from defendant Carter has been filed.



             With the exception of the excerpted language above concerning the

suppression of physical evidence based on involuntary consent and/or consent

provided after the search was complete, defendant Carter offers nothing to support his

request for suppression. In its response to that portion of the defendant’s motion

seeking suppression of physical evidence, the government states,




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              [t]he defendant seeks to suppress evidence found during the
              search of his residence. The government objects to this as
              the defendant, voluntarily gave consent to the officers to
              search the entire premises and his vehicle. Once this
              consent was obtained, officers searched the residence and
              the vehicle and found the one and a half kilos of cocaine
              and the money. . . . Further, the government objects to an
              evidentiary hearing in this matter to determine whether law
              enforcement had obtained consent to search the home. To
              be entitled to an evidentiary hearing, a defendant must make
              a preliminary showing of facts, which if proved, would
              necessitate the granting of the relief requested. To meet
              that burden the defendant must submit his own affidavit or
              an affidavit from a person who has personal knowledge of
              the relevant facts. And if an affidavit is submitted, it must be
              ‘specific, detailed, and nonconjectural.’ Here, the defendant
              failed to submit a detailed affidavit sworn to by a person with
              personal knowledge of the facts contained therein. As such,
              the defendant is not entitled to an evidentiary hearing
              regarding this issue.

Dkt. #9, p.12 (internal citations omitted).



              A defendant is entitled to a hearing on a motion to suppress if the

defendant’s papers raise a “sufficiently definite, specific, detailed, and nonconjectural”

factual basis for the motion. United States v. Pena, 961 F.2d 333, 339 (2d Cir. 1992);

see also, United States v. Mathurin, 148 F.3d 68 (2d Cir. 1998) (evidentiary hearing

required where defendant averred that he was never given Miranda warnings); United

States v. Richardson, 837 F. Supp. 570 (S.D.N.Y. 1993) (evidentiary hearing not

required where defendant failed to make specific factual allegations of illegality based

upon personal knowledge but defense counsel merely alleged that defendant did not

knowingly waive his rights before answering questions); United States v. Ahmad, 992 F.

Supp. 682, 685 (S.D.N.Y. 1998) (affidavit of defense counsel seeking suppression of

custodial statements for failure to provide Miranda warnings insufficient to warrant

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evidentiary hearing or suppression); United States v. Caruso, 684 F. Supp. 84, 87

(S.D.N.Y. 1988) (“without a supporting affidavit of someone with personal knowledge of

the underlying facts, the court need not resolve factual disputes that may be presented

by the moving papers.”). Indeed, the Court has discretion to deny a hearing where, as

here, the defendant’s papers fail to create a dispute over a material fact, see United

States v. Caming, 968 F.2d 232, 236 (2d Cir. 1992); where, as here, the defendant fails

to support the factual allegations of the motion with an affidavit from a witness with

personal knowledge, see United States v. Gillette, 383 F.2d 843, 848 (2d Cir. 1967); or

where the issue involved is purely one of law, see United States v. Warren, 453 F.2d

738, 742-43 (2d Cir. 1973).



              In the instant case, in the absence of a detailed, factual affidavit of a

person with personal knowledge, the bare, conclusory allegations in defendant’s motion

to suppress physical evidence are wholly insufficient to create a need for an evidentiary

hearing. Defendant’s counsel first raised the issue of an affidavit from defendant Carter

in the memorandum of law with respect to the issue of standing. While standing could

have been an issue raised by the government in its response to the instant motion, the

primary issue is the complete lack of factual allegations to support the arguments raised

concerning defendant Carter’s alleged consent to search. Accordingly, based on the

absence of any factual allegations in the record before the Court sufficient to require an

evidentiary hearing, this Court recommends that the defendant’s motion to suppress the

physical evidence seized from 446 10th Street, Niagara Falls, New York be denied and it

is hereby



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                ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



               This Report, Recommendation and Order be filed with the Clerk of Court.



               ANY OBJECTIONS to this Report, Recommendation and Order must be

 filed with the Clerk of Court within fourteen (14) days after receipt of a copy of this

 Report, Recommendation and Order in accordance with the above statute,

 Fed.R.Crim.P. 58(g)(2) and Local Rule 58.2.



               The district judge will ordinarily refuse to consider de novo, arguments,

 case law and/or evidentiary material which could have been, but were not presented to

 the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

 Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988).

 Failure to file objections within the specified time or to request an extension of

 such time waives the right to appeal the District Judge's Order. Thomas v. Arn,

 474 U.S. 140 (1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir.

 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of


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Rule 58.2 (concerning objections to a Magistrate Judge's Report,

Recommendation and Order), may result in the District Judge's refusal to

consider the objection.



            SO ORDERED.


DATED:      Buffalo, New York
            September 11, 2012


                                     s/ H. Kenneth Schroeder, Jr.
                                     H. KENNETH SCHROEDER, JR.
                                     United States Magistrate Judge




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